                                                                                                                                              8/18/23 5:23PM




Fill in this information to identify the case:

Debtor name         Cair Heating and Cooling, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF KENTUCKY

Case number (if known)     23-31622
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 18, 2023                 X /s/ Kevin Clapp
                                                           Signature of individual signing on behalf of debtor

                                                            Kevin Clapp
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                                                                                                                                                                                     8/18/23 5:23PM


 Fill in this information to identify the case:

 Debtor name            Cair Heating and Cooling, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF KENTUCKY

 Case number (if known)               23-31622
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       6,830,559.20

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       6,830,559.20


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       5,913,542.13


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $       1,010,198.13

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       2,905,517.08


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          9,829,257.34




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                                                                                                                                                    8/18/23 5:23PM


Fill in this information to identify the case:

Debtor name          Cair Heating and Cooling, LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF KENTUCKY

Case number (if known)        23-31622
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest
2.         Cash on hand                                                                                                                            $3,600.24



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Fifth Third Bank                                  Checking                              5313                                 $258,884.63



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                  $262,484.87
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     LGE electricity                                                                                                                $1,200.00




           7.2.     garbage collection                                                                                                                  $400.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                      page 1
                                                                                                                                           8/18/23 5:23PM



Debtor            Cair Heating and Cooling, LLC                                              Case number (If known) 23-31622
                  Name




           7.3.     CGE gas                                                                                                               $1,200.00




           7.4.     Sprint cell phone                                                                                                     $3,000.00




           7.5.     Spectrum telephone                                                                                                      $400.00




           7.6.     security deposits                                                                                                    $11,698.84



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                          $17,898.84
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                  4,879,502.26      -                                   0.00 = ....               $4,879,502.26
                                        face amount                            doubtful or uncollectible accounts




12.        Total of Part 3.                                                                                                       $4,879,502.26
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last              Net book value of         Valuation method used    Current value of
                                              physical inventory            debtor's interest         for current value        debtor's interest
                                                                            (Where available)

19.        Raw materials

20.        Work in progress

Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                         page 2
                                                                                                                                          8/18/23 5:23PM



Debtor       Cair Heating and Cooling, LLC                                                  Case number (If known) 23-31622
             Name

21.       Finished goods, including goods held for resale
          Various HVAC units and
          related materials for
          installing same. All
          subject to mechanic lien
          rights of suppliers                                                        Unknown        Recent cost                         $60,000.00



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                          $60,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                                Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          Office furniture includes equipment                                             $0.00                                          $6,999.69



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computer equipment, software programs                                           $0.00                                          $4,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $10,999.69
          Add lines 39 through 42. Copy the total to line 86.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
                                                                                                                                       8/18/23 5:23PM



Debtor       Cair Heating and Cooling, LLC                                             Case number (If known) 23-31622
             Name

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   Multiple vehicles, see list attached as
                          A
                  Exhibit ___                                                        $0.00                                          $197,500.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                      $197,500.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used     Current value of
          property                              extent of            debtor's interest         for current value         debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                          page 4
                                                                                                                                          8/18/23 5:23PM



Debtor        Cair Heating and Cooling, LLC                                               Case number (If known) 23-31622
              Name

           55.1.   Please refer to
                   Schedule G for a
                   description of leased
                   real property. The
                   Debtor owns no real            Leasehold
                   property.                      interests                             $0.00                                                  $0.00




56.        Total of Part 9.                                                                                                                 $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           https://cairhvac.com/                                                        $0.00         N/A                                    $10.00



62.        Licenses, franchises, and royalties
           HVAC Installer's license                                                     $0.00                                                $10.00



63.        Customer lists, mailing lists, or other compilations
           The Debtor maintains a list of prior and
           existing customers which includes name(s),
           addresses and telephone or email addresses.                             Unknown                                                  $100.00



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                             $120.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 5
                                                                                                                                         8/18/23 5:23PM



Debtor        Cair Heating and Cooling, LLC                                                Case number (If known) 23-31622
              Name


            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities
           Debtor is insured under policies for general liability,
           automobile liability, worker's compensation and an
           umbrella policy with Selective Insurance Company                                                                                   $0.00



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           The Debtor has multiple potential mechanic lien claims
           against numerous third parties for work performed                                                                            Unknown
           Nature of claim
           Amount requested                                      $0.00



76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Unbilled retainage on work performed                                                                                     $1,402,053.54




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 6
                                                                                                                            8/18/23 5:23PM



Debtor      Cair Heating and Cooling, LLC                                           Case number (If known) 23-31622
            Name

         Bonds:
         Policy #6181844 State of Kentucky, Secretary of State's
         Office, Bond Amt: $1,000
         Policy #6176538 Consolidated City of Indianapolis,
         Bond Amt:$10,000
         Policy #6139591 State of Kentucky, Secretary of State's
         Office, Bond Amt: $1,000
         Policy #6174784 State of Washington Dept of Labor &
         Industires, Bond Amt: $12,000
         Policy #6176113 Mecklenburg County Land Use &
         Enviornmental Services, Bond Amt: $2,000
         Policy #6169722 Iowa Plumbing & Mechanical Systems
         Board, Bond Amt: $5,000
         Policy #6167618 City of Columbus Director of Dept of
         Building & Zoning Service, Bond Amt: $25,000
         Policy #6183224 Trumbull County Building Inspection,
         Bond Amt: $10,000
         Policy #6182893 City of Lebanon, Bond Amt: $10,000
         Policy #6182847 City of Youngstown, Bond Amt:
         $10,000
         Policy #6146095 Consolidated City of Indianapolis,
         Bond Amt: $5,000
         Policy #6176555 State of Iowa, Iowa Dvision of Labor
         Services, Bond Amt: $25,000
         Policy #6176537 City of Lancaster, Bond Amt: $15,000                                                                    $0.00


         Debtor's financial statements reflect a shareholder loan
         in the amount of $92,319.83. This entry is for tax
         purposes and the Debtor has not loaned funds to any
         shareholders.                                                                                                           $0.00




78.      Total of Part 11.                                                                                            $1,402,053.54
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                             page 7
                                                                                                                                                                         8/18/23 5:23PM



Debtor          Cair Heating and Cooling, LLC                                                                       Case number (If known) 23-31622
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $262,484.87

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $17,898.84

82. Accounts receivable. Copy line 12, Part 3.                                                                 $4,879,502.26

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $60,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $10,999.69

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $197,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                       $120.00

90. All other assets. Copy line 78, Part 11.                                                    +              $1,402,053.54

91. Total. Add lines 80 through 90 for each column                                                         $6,830,559.20            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,830,559.20




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 8
 Exhibit A to Schedule B47
Co. Vehicle - VIN # Last 5               Vin#                         Plate #   Unit #'s Resides Titled   FMV      Lender
Update 8/16/2023                         Auto Insurance Expires 8/1/2024

2007 Chevy 2500 Utlty Truck #51683                     251683         702-425    #126                       $5,500 paid off
2006 Chevy 2500 Utlty Truck #30889                     230889         702-424    #127    CINCY              $5,000 paid off
2011 Ford E350 Utlty Van #22537                        A22537         789-691    #128                       $7,500 paid off
2005 GMC Savana Van #04879                             104879         678-KEP    #133                       $5,000 paid off
2002 Ford F150 P/U #85583                             B85583          674-FFY    #137                       $3,500 paid off
2013 Ford E150 Cargo Van #06423                         B06423        629-824    #139                       $8,500 paid off
2008 Ford E150 Cargo Van #41737                          41737        766-YKJ    #140                       $6,000 paid off
2011 Ford E150 Cargo Van #05442                          05442        500-ZDE    #143                       $7,500 paid off
2012 Ford E-150 Van, #68037              1              A68037        AMJ-511    #150                       $8,000 paid off
2010 E-150 Ford Cargo Van, #98376                       A98376        AMJ-512    #153                       $4,000 paid off
2009 Ford Cargo Van, #72064                            A72064         BJF-101    #155                       $4,000 paid off
2013 Ford E150 Cargo Van #83763                         A83763        BVZ-956    #157    CINCY              $8,500 paid off
2003 Nissan Frontier Crew Cab, #53482    1            453482          BJZ-175    #158                       $4,500 paid off
2010 Nissan Altima 2.5 S,4 Door #34705                 434705         AVY-618    #159                       $3,000 paid off
2013 E150 Ford Econoline Van, #23257                    A23257        BVZ-957    #161    INDY               $8,500 paid off
2014 Ford Econoline E-150, #20181        1              B20181        CAM-133    #163                       $8,500 paid off
2016 Ford Transit, #76982                              A76982         BRB-057    #167                      $11,000 Kemba
2012 Ford Econoline, #08614                             B08614        BRB-058    #168                       $8,000 Kemba
2006 PK Ford F150, #78065 (Indy Truck)   1            A78065          BZL-028    #170    INDY               $3,500 paid off
2009 Chevy Express, #73870 (WH-INDY)                    73870         BRB-056    #171    INDY               $4,000 paid off
2004 GMC Savana, #70595                               170595          PLF-2785   #325    CINCY   OHIO       $3,000 paid off
2007 Ford Econoline, #74659                             74659         D5X738     #175                       $5,500 paid off
2011 E250 Ford Econoline, #35538                       A35538            9855697 #176    INDY    INDY       $7,500 paid off
2007 Ford F150 Red Truck, #58449                        58449         BXZ-869    #179    IOWA               $4,500 paid off
2013 Ford E150 Van, #06169                              B06169        779-PHA    #180                       $8,500 paid off
                                                                                 #182/#3
2009 Ford Econoline Van, #67731                         67731         PLL-4480   15      CINCY   OHIO       $4,000 paid off
                                                                                 #183/#3
2006 Ford Econoline Van, #74106                        A74106         PLH-8022   12      CINCY   OHIO       $3,500 paid off
2003 Ford F150 Truck, #76794                           A76794         TQC-847    #184    IOWA    INDY       $3,000 paid off
2015 Jeep Patriot , #92388                             192388         D5J-174            INDY               $6,500 paid off
2004 GMC Savana Truck, #01734                        41901734            9866482         INDY    INDY       $5,500 paid off
2011 Ford E250 Econoline Van, #40450                  DB40450         PLH-7595   #314    CINCY   OHIO       $7,500 paid off
2012 GMC Sierra Truck, #04217                          104217         C6X750                                $4,500 paid off
2005 Chevrolet Express G2500, #41198                  1241198         PLN2930    #310    CINCY   OHIO       $3,500 paid off
2005 Toyota Tundra, #86843          86843    18036V            $3,500 paid off
2000 Ford F150, White, #29603   1    29603   18155V   INDY     $3,000 paid off

                                                             $197,500
                                                                                                                                                          8/18/23 5:23PM


Fill in this information to identify the case:

Debtor name          Cair Heating and Cooling, LLC

United States Bankruptcy Court for the:            WESTERN DISTRICT OF KENTUCKY

Case number (if known)              23-31622
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Chase Auto                                   Describe debtor's property that is subject to a lien                  $29,853.23                        $0.00
       Creditor's Name

       PO Box 701076
       Fort Worth, TX 76101
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Cucumber Capital LLC                         Describe debtor's property that is subject to a lien                $275,000.00                         $0.00
       Creditor's Name                              future receivables
       445 Central Ave
       Cedarhurst, NY 11516
       Creditor's mailing address                   Describe the lien
                                                    UCC-1
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       6/9/23                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 5
                                                                                                                                        8/18/23 5:23PM


Debtor      Cair Heating and Cooling, LLC                                                         Case number (if known)     23-31622
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


      Daikin Comfort
2.3                                                                                                                    $3,799,452.62    $0.00
      Technologies North Americ                   Describe debtor's property that is subject to a lien
      Creditor's Name                             purchased inventory
      Attn: Simon Lin
      19001 Kermier Road
      Waller, TX 77484
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
      simon.lin@daikincomfort.c                   Is the creditor an insider or related party?
      om                                           No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      Various                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.4   Dixie Motors                                Describe debtor's property that is subject to a lien                     $10,056.37   $0.00
      Creditor's Name                             2012 Ford Eco
      4991 Dixie Hwy
      Fairfield, OH 45014
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.5   Dixie Motors                                Describe debtor's property that is subject to a lien                     $16,774.27   $0.00
      Creditor's Name                             2016 Ford Transit
      4991 Dixie Hwy
      Fairfield, OH 45014
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                      page 2 of 5
                                                                                                                                         8/18/23 5:23PM


Debtor      Cair Heating and Cooling, LLC                                                         Case number (if known)      23-31622
            Name

      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.6   Huntington Bank                             Describe debtor's property that is subject to a lien                        $648.44    $0.00
      Creditor's Name                             09 Chevy
      17 S. High St
      Columbus, OH 43215
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.7   Huntington Bank                             Describe debtor's property that is subject to a lien                        $773.89    $0.00
      Creditor's Name                             13 Ford
      17 S. High St
      Columbus, OH 43215
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.8   On Deck Capital, LLC                        Describe debtor's property that is subject to a lien                     $108,000.00   $0.00


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 3 of 5
                                                                                                                                         8/18/23 5:23PM


Debtor      Cair Heating and Cooling, LLC                                                         Case number (if known)      23-31622
            Name

      Creditor's Name                             future receivables
      c/o Devon Dean
      4700 W. Daybreak Pkwy,
      Ste 200
      South Jordan, UT 84009
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.9   Rocket Capital NY LLC                       Describe debtor's property that is subject to a lien                     $366,050.00   $0.00
      Creditor's Name                             future receivables
      c/o Joe Lieberman, Esq.
      Lieberman and Klestzick,
      LLP
      PO Box 356
      Cedarhurst, NY 11516
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      5/1/23                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
0     TVT 2.0 LLC                                 Describe debtor's property that is subject to a lien                 $1,156,933.31     $0.00
      Creditor's Name                             Accounts receivable
      Contracts Team
      881 Baxter Dr, Ste 100
      South Jordan, UT 84095
      Creditor's mailing address                  Describe the lien
                                                  UCC-1
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 4 of 5
                                                                                                                                                          8/18/23 5:23PM


Debtor       Cair Heating and Cooling, LLC                                                         Case number (if known)       23-31622
             Name

       4/21/23                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.
                                                    Disputed


2.1    U.S. Small Business
1      Administration                              Describe debtor's property that is subject to a lien                     $150,000.00         $6,100,000.00
       Creditor's Name                             all assets
       2 North Street, Ste 320
       Birmingham, AL 35203
       Creditor's mailing address                  Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                            $5,913,542.1
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       3

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        TVT 2.0 LLC
        c/o Recovery of Judgment                                                                            Line   2.10
        Derek Medolla, Esq.
        1407 Broadway 29th Floor
        New York, NY 10018




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 5
                                                                                                                                                              8/18/23 5:23PM


Fill in this information to identify the case:

Debtor name        Cair Heating and Cooling, LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF KENTUCKY

Case number (if known)          23-31622
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          $0.00
          Boone County Fiscal Court                           Check all that apply.
          2950 Washington Square                               Contingent
          Burlington, KY 41005                                 Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          $0.00
          Department for Employment                           Check all that apply.
          Services                                             Contingent
          P. O. Box 948                                        Unliquidated
          Frankfort, KY 40602-0948                             Disputed
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Cair Heating and Cooling, LLC                                                             Case number (if known)   23-31622
            Name

2.3       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
          Florence Government Center                         Check all that apply.
          8100 Ewing Boulevard                                Contingent
          Florence, KY 41042                                  Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.4       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
          Idaho State Tax Commission                         Check all that apply.
          11321 W Chinden Blvd                                Contingent
          Boise, ID 83714                                     Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.5       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $1,746.53   $1,746.53
          Indiana Department of Revenue                      Check all that apply.
          100 N. Senate Ave, N-240 MS 108                     Contingent
          Indianapolis, IN 46204                              Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
          July 2023                                          Will be paid per prepetition wages motion
          Last 4 digits of account number 6625               Is the claim subject to offset?

          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.6       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
          Indiana Dept. of Workforce                         Check all that apply.
          Development                                         Contingent
          Indiana Govt. Center South                          Unliquidated
          10 N. Senate Avenue                                 Disputed
          Indianapolis, IN 46204
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 20
                                                                                                                                                  8/18/23 5:23PM


Debtor      Cair Heating and Cooling, LLC                                                             Case number (if known)   23-31622
            Name

2.7       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,000,763.39   $0.00
          Internal Revenue Service                           Check all that apply.
          P.O. Box 7346                                       Contingent
          Philadelphia, PA 19101-7346                         Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
          2013-2016                                          Federal witholding Taxes
          Last 4 digits of account number 4979               Is the claim subject to offset?

          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.8       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown      $0.00
          Jefferson County Sheriff’s Office                  Check all that apply.
          PO Box 34570                                        Contingent
          Louisville, KY 40232-4570                           Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.9       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown      $0.00
          KY Dept. of Revenue                                Check all that apply.
          Legal Branch - Bankruptcy Section                   Contingent
          P. O. Box 5222                                      Unliquidated
          Frankfort, KY 40602                                 Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             State Taxes
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.10      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,580.76    $2,209.00
          Louisville Metro Revenue Commn                     Check all that apply.
          Attn: Legal Division                                Contingent
          P O Box 32060                                       Unliquidated
          Louisville, KY 40232-2060                           Disputed
          Date or dates debt was incurred                    Basis for the claim:
          July 2023                                          Local taxes
          Last 4 digits of account number 5495               Is the claim subject to offset?

          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 3 of 20
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Debtor      Cair Heating and Cooling, LLC                                                             Case number (if known)   23-31622
            Name

2.11      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
          Nebraska Department of Revenue                     Check all that apply.
          PO Box 98934                                        Contingent
          Lincoln, NE 68509-8934                              Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.12      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
          Office of Unemployment Insurance                   Check all that apply.
          Operati                                             Contingent
          PO Box 182212                                       Unliquidated
          Columbus, OH 43218-2212                             Disputed
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.13      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $4,107.45   $4,017.45
          Ohio Department of Revenue                         Check all that apply.
          Bankruptcy Division                                 Contingent
          P O Box 530                                         Unliquidated
          Columbus, OH 43216                                  Disputed
          Date or dates debt was incurred                    Basis for the claim:
          July 2023                                          Will be paid per prepetition wages motion
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.14      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     $0.00
          RITA                                               Check all that apply.
          PO Box 89475                                        Contingent
          Cleveland, OH 44101-6475                            Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 20
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Debtor        Cair Heating and Cooling, LLC                                                              Case number (if known)          23-31622
              Name

2.15       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   $0.00
           South Carolina Department of                         Check all that apply.
           Revenue                                               Contingent
           Income Tax                                            Unliquidated
           PO Box 125                                            Disputed
           Columbia, SC 29214-0400
           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

2.16       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   $0.00
           Washington Employment Security                       Check all that apply.
           Dept.                                                 Contingent
           PO Box 9046                                           Unliquidated
           Olympia, WA 98507-9046                                Disputed
           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $11,012.63
          2-J Supply Co., Inc.                                                 Contingent
          1456 N Keowee Street                                                 Unliquidated
          Dayton, OH 45404-1103                                                Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                  $165.85
          A-1 Portable Buildings, Inc.                                         Contingent
          801 Enterprise Drive                                                 Unliquidated
          Lexington, KY 40510                                                  Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $3,962.94
          Advanced Automotive Services                                         Contingent
          7801 Alexandria Pike                                                 Unliquidated
          Alexandria, KY 41001                                                 Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 20
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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $800.00
         Affordable Crane Service                                   Contingent
         PO Box 739                                                 Unliquidated
         Hardinsburg, KY 40143                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $24,610.00
         Air Equipment Company                                      Contingent
         1701 Payne Street                                          Unliquidated
         Louisville, KY 40203                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $741,455.72
         Air Mechanical Sales                                       Contingent
         1949 Lexington Road                                        Unliquidated
         Georgetown, KY 40324                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $5,339.11
         AirGas USA, LLC                                            Contingent
         Po Box 734445                                              Unliquidated
         Chicago, IL 60673-4445                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $530.89
         Al's Johns                                                 Contingent
         13911 NW 56th Street                                       Unliquidated
         Raymond, NE 68428                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $10,074.82
         Alpha Energy Solutions                                     Contingent
         7200 Distribution Dr                                       Unliquidated
         Louisville, KY 40258                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         American Strategic Insurance                               Contingent
         PO Box 33018                                               Unliquidated
         Saint Petersburg, FL 33733                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 6 of 20
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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,861.31
         American United Life Ins. Co.                              Contingent
         PO Box 368                                                 Unliquidated
         Indianapolis, IN 46206                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $4,400.62
         Anerican Express                                           Contingent
         PO Box 96009                                               Unliquidated
         Los Angeles, CA 90096                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: credit card
         Last 4 digits of account number 7002
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,210.08
         Art's Rental                                               Contingent
         215 East 6th Street                                        Unliquidated
         Newport, KY 41071                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $8,043.75
         B.C. Drywall, Inc.                                         Contingent
         20513 Nicholas Circle #1                                   Unliquidated
         Elkhorn, NE 68022                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $444.00
         Baptist Health Medical Group                               Contingent
         PO Box 734848                                              Unliquidated
         Chicago, IL 60673-4848                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,805.00
         BCM Lifting & Hauling Services, LLC                        Contingent
         P.O. Box 91648                                             Unliquidated
         Louisville, KY 40291                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,570.89
         Best Access Doors                                          Contingent
         228 Park Avenue South #76520                               Unliquidated
         New York, NY 10003-1502                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $70,342.32
         Big Time Advertising Inc                                   Contingent
         22615 State Road 120                                       Unliquidated
         Elkhart, IN 46516-5369                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Advertising services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,646.20
         Campbell County Planning & Zoning                          Contingent
         1098 Monmouth St. Ste. 343                                 Unliquidated
         Newport, KY 41071                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $54,260.11
         Capital One                                                Contingent
         6125 Lakeview Rd Suite 800                                 Unliquidated
         Charlotte, NC 28269                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: credit card
         Last 4 digits of account number 4726
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,064.09
         Cedar West Storage                                         Contingent
         3525 Center Pint Rd. NE, Ste. B                            Unliquidated
         Cedar Rapids, IA 52402                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $582.38
         Central Messaging                                          Contingent
         10333 Harwin Drive, Ste 530M                               Unliquidated
         Houston, KY 77036                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,567.50
         Champion Crane                                             Contingent
         1136 NE 44th Ave                                           Unliquidated
         Des Moines, IA 50313                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $629.98
         Chase Auto Finance                                         Contingent
         PO Box 71220                                               Unliquidated
         Philadelphia, PA 19176-6220                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $49.00
         Cincinnati BBB                                             Contingent
         1 E. 4th St, Unit 600                                      Unliquidated
         Cincinnati, OH 45202                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $384.28
         Cintas                                                     Contingent
         PO Box 630921                                              Unliquidated
         Cincinnati, OH 45263-0921                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $62.46
         Cintas Cincy                                               Contingent
         PO BOX 631025                                              Unliquidated
         Cincinnatti, OH 45246-1146                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $139.94
         Cintas Fire 636525                                         Contingent
         PO BOX 636525                                              Unliquidated
         Cincinnati, OH 45263                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $105.43
         Citizens Energy                                            Contingent
         Po Box 7056                                                Unliquidated
         Indianapolis, IN 46207-7056                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,580.00
         Cooke Sheet Metal Inc                                      Contingent
         PO Box 338                                                 Unliquidated
         Kalkaska, MI 49646                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $180,155.46
         Corken Steel Products Co.                                  Contingent
         1226 West Market St                                        Unliquidated
         Louisville, KY 40203                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,210.44
         Cumberland Cooling, Inc.                                   Contingent
         625 B Hart Lane                                            Unliquidated
         Nashville, TN 37216                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,902.50
         D-Crane Rental                                             Contingent
         11061 Dixie Hwy                                            Unliquidated
         Louisville, KY 41094                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         DTE Energy                                                 Contingent
         PO Box 70726                                               Unliquidated
         Cincinnati, OH 45274                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $436.77
         Duke Energy                                                Contingent
         PO Box 1094                                                Unliquidated
         Charlotte, NC 28201-1094                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $12,049.12
         Electrical Contractors NW Inc                              Contingent
         Po Box 254                                                 Unliquidated
         Pullman, WA 99163                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $34,321.38
         Energy Rotation Systems LLC                                Contingent
         4790 W 73rd Street                                         Unliquidated
         Indianapolis, IN 46268                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $141,369.63
         Famous Supply                                              Contingent
         PO BOX 951344                                              Unliquidated
         Cleveland, OH 44193                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,200.00
         Federated Insurance                                        Contingent
         2000 Technology Dr.                                        Unliquidated
         Mankato, MN 56001                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: insurance premiums and deductibles
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $7,029.59
         Ferguson                                                   Contingent
         PO BOX 802817                                              Unliquidated
         Chicago, IL 60680-2817                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,498.29
         Ferguson Enterprises #1480                                 Contingent
         PO BOX 644054                                              Unliquidated
         Pittsburgh, PA 15264-4054                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,027.09
         Ferguson Heating & Cooling                                 Contingent
         4700 Poplar Level Rd                                       Unliquidated
         Louisville, KY 40213                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,200.00
         Ground Penetration Radar System                            Contingent
         PO Xox 932                                                 Unliquidated
         Toledo, OH 43697-0932                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $790,853.58
         Habegger Corp.                                             Contingent
         11413 Enterprise Park Dr                                   Unliquidated
         Cincinnati, OH 45241                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,787.09
         Hilti Inc                                                  Contingent
         Po Box 70299                                               Unliquidated
         Philadelphia, PA 19176-0299                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $914.00
         Hubbs Heating & Air                                        Contingent
         545 E Main Street                                          Unliquidated
         Lancaster, OH 43130                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $27,062.05
         Impact                                                     Contingent
         PO Box 739                                                 Unliquidated
         Lexington, KY 40588                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Third-party benefits adminstrator
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,070.00
         Indy Core                                                  Contingent
         2280 Cold Springs Rd                                       Unliquidated
         Indianapolis, IN 46222                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $30,528.36
         Jackson Systems                                            Contingent
         5418 Elmwood Ave                                           Unliquidated
         Indianapolis, IN 46203                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $967.61
         Johnstone Supply                                           Contingent
         PO Box 210639                                              Unliquidated
         Auburn Hills, MI 48321                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $55,779.28
         Johnstone Supply Indianapolis                              Contingent
         Po Box 706371                                              Unliquidated
         Cincinnati, OH 45270-6371                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,968.00
         Kentuckiana Comfort Center                                 Contingent
         PO Box 99369                                               Unliquidated
         Louisville, KY 40269-0369                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $19,958.72
         Koch Air                                                   Contingent
         P.O. Box 636092                                            Unliquidated
         Cincinnati, OH 45263-6092                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,966.44
         Kwik Set Fasteners                                         Contingent
         4006 Bishop Lane                                           Unliquidated
         Louisville, KY 40218                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $145.16
         Lee Supply Corp.                                           Contingent
         6610 Guion Road                                            Unliquidated
         Indianapolis, IN 46268                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $59,416.10
         Lennox Industries Inc.                                     Contingent
         P.O Box 910549                                             Unliquidated
         Dallas Tx 75391                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,700.17
         Lennox Parts Plus                                          Contingent
         4858 Provident Dr. Suite G                                 Unliquidated
         Cincinnati, OH 45246                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         LGE                                                        Contingent
         Attn: Revenue collection                                   Unliquidated
         820 West Broadway                                          Disputed
         Louisville, KY 40202
                                                                   Basis for the claim: utilities
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $14,999.18
         Lins Heating & Air Conditioning                            Contingent
         4540 J Street SW                                           Unliquidated
         Cedar Rapids, IA 52404                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
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3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $967.95
         Lynn Imaging                                               Contingent
         PO Box 519                                                 Unliquidated
         Lexington, KY 40588-0519                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $9,419.83
         MacArthur Co                                               Contingent
         NW 6276                                                    Unliquidated
         PO Box 1450                                                Disputed
         Minneapolis, MN 55485
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $4,024.18
         Mr. Transmission                                           Contingent
         3014 Hunsinger Ln                                          Unliquidated
         Louisville, KY 40220                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,370.00
         Muck's Crane                                               Contingent
         7660 W. 60 S.                                              Unliquidated
         Edinburgh, IN 46124                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         National Labor Relations Board                             Contingent
         Region 25
         575 N. Pennsylvania St, Ste 238
                                                                    Unliquidated
         Indianapolis, IN 46204-1520                                Disputed
         Date(s) debt was incurred                                 Basis for the claim:
         Last 4 digits of account number 6019                      Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,212.15
         New Image                                                  Contingent
         1751 Plantside Dr                                          Unliquidated
         Louisville, KY 40299                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,936.83
         Omniduct                                                   Contingent
         6400 Artesia Blvd                                          Unliquidated
         Buena Park, CA 90620                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,756.92
         Pacific Mobile Structures                                  Contingent
         PO Box 24747                                               Unliquidated
         Seattle, WA 98124-0747                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $4,258.51
         Penske Truck Leasing                                       Contingent
         PO Box 802577                                              Unliquidated
         Chicago, IL 60680-2577                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $337.00
         Phipps Reprographics                                       Contingent
         6920 Plainfield Road                                       Unliquidated
         Cincinnati, OH 45236-0172                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $7,120.88
         Plumb Supply                                               Contingent
         PO Box 4558                                                Unliquidated
         Des Moines, IA 50305                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $462.47
         Plumbers Supply                                            Contingent
         950 E Market St.                                           Unliquidated
         Louisville, KY 40206                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,880.00
         Precision Test & Balance Inc.                              Contingent
         14225 University Avenue Ste 220A                           Unliquidated
         Waukee, IA 50263                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $7,006.25
         Professional Concrete Cutting & Drilling                   Contingent
         14124 East State Road 46                                   Unliquidated
         Columbus, IN 47203                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $492.20
         PYE Barker Fyre & Safety                                   Contingent
         Po Box 735358                                              Unliquidated
         Dallas, TX 75373-5358                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,588.59
         Reese Wholesale                                            Contingent
         PO BOX 2970                                                Unliquidated
         Indianapolis, IN 46206-2970                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,400.00
         Renaissance Design Build Inc                               Contingent
         117 S Indiana Ave                                          Unliquidated
         Sellersburg, IN 47172                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Republic Services                                          Contingent
         11563 Mosteller Rd                                         Unliquidated
         Cincinnati, OH 45241                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,500.00
         Rivera Group LLC                                           Contingent
         1073 Oliver Ave                                            Unliquidated
         Indianapolis, IN 46221                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $567.06
         RL Craig Company Inc                                       Contingent
         11524 Commonwealth Drive                                   Unliquidated
         Louisville, KY 40299                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $56,383.17
         Shape Manufacturing                                        Contingent
         1987 South Park Rd.                                        Unliquidated
         Louisville, KY 40219                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $233.29
         Spectrum
         Charter Communications Oper., LLC                          Contingent
         ATTN: Comml Contracts Mgmt Corp. Legal                     Unliquidated
         12405 Powerscourt Drive St.                                Disputed
         Saint Louis, MO 63131
                                                                   Basis for the claim: utilities
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,227.25
         SPI, LLC                                                   Contingent
         PO BOX 841166                                              Unliquidated
         Dallas, TX 75284-1166                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Sprint                                                     Contingent
         Office of Privacy-Legal Dept.                              Unliquidated
         P.O. Box 4600                                              Disputed
         Reston, VA 20195
                                                                   Basis for the claim: utilities
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $109.32
         Stericycle                                                 Contingent
         28883 Network Place                                        Unliquidated
         Chicago, IL 60673-1288                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,699.43
         Steve Carlton Construction                                 Contingent
         1103 Bryden Ave                                            Unliquidated
         Lewiston, ID 83501                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $144,634.36
         Sunbelt Rentals                                            Contingent
         PO Box 409211                                              Unliquidated
         Atlanta, GA 30384-9211                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment rental
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,935.04
         SWH Supply Co.                                             Contingent
         242 E. Main St.                                            Unliquidated
         Louisville, KY 40202                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,692.00
         Synergy Test & Balance                                     Contingent
         154 Burt Rd                                                Unliquidated
         Lexington, KY 40503                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,700.00
         Tango Victor Charlie, LLC                                  Contingent
         7707 Surrey Lane                                           Unliquidated
         Traverse City, MI 49685                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,521.28
         Teasdale Fenton                                            Contingent
         12145 Centron Place                                        Unliquidated
         Cincinnati, OH 45246                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,569.13
         TEG Enterprises Inc                                        Contingent
         107 Gass Dr                                                Unliquidated
         Greenville, TN 37745                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,249.06
         The Home Depot                                             Contingent
         2455 Paces Ferry Road                                      Unliquidated
         Atlanta, GA 30339-1834                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: credit card
         Last 4 digits of account number 6156
                                                                   Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,210.78
         The Miller Company Inc. / De Lage Laden                    Contingent
         PO Box 41602                                               Unliquidated
         Philadelphia, PA 19101-1602                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,470.25
         Tire Discounters                                           Contingent
         PO Box 931827                                              Unliquidated
         Atlanta, GA 31193-1827                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Cair Heating and Cooling, LLC                                                   Case number (if known)            23-31622
            Name

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $29,577.18
         Tom Barrow Company                                         Contingent
         732 Joseph E. Lowery Blvd. NW                              Unliquidated
         Atlanta, GA 30318                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $45,442.34
         Trane HVAC Parts & Supplies                                Contingent
         12700 Plantside Dr                                         Unliquidated
         Louisville, KY 40299                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $80,380.49
         Trane U.S. Inc.                                            Contingent
         PO Box 403271                                              Unliquidated
         Atlanta, GA 30384-3271                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,831.65
         United Rentals                                             Contingent
         Po Box 100711                                              Unliquidated
         Atlanta, GA 30384-0711                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $38,844.46
         Val Pak                                                    Contingent
         3036 Breckenridge Lane, Ste. 203                           Unliquidated
         Louisville, Ky 40220                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Advertising services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Waste Management                                           Contingent
         444 S 5th Street                                           Unliquidated
         Louisville, KY 40202                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         WEX, Inc.                                                  Contingent
         1 Hancock St.                                              Unliquidated
         South Portland, ME 04106                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 19 of 20
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Debtor       Cair Heating and Cooling, LLC                                                          Case number (if known)            23-31622
             Name

3.102     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $13,150.20
          Wright Insulation                                                 Contingent
          1442 Olive Street                                                 Unliquidated
          Louisville, KY 40210                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No  Yes
3.103     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,138.27
          Zupin Crane                                                       Contingent
          325 Oak Grove St.                                                 Unliquidated
          Manistee, MI 49660                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Ferguson Heating & Cooling
          3840 Business Park Dr                                                                     Line      3.42
          Louisville, KY 40213
                                                                                                          Not listed. Explain

4.2       Kentuckiana Comfort Center
          2716 Grassland Drive                                                                      Line      3.52
          Louisville, KY 40299
                                                                                                          Not listed. Explain

4.3       Tire Discounters
          12901 Taylorsville Rd                                                                     Line      3.94
          Louisville, KY 40299
                                                                                                          Not listed. Explain

4.4       Trane U.S. Inc.
          3600 Pammel Creek Rd                                                                      Line      3.97
          La Crosse, WI 54601-7599
                                                                                                          Not listed. Explain

4.5       United Rentals
          Branch AE2                                                                                Line      3.98
          52500 Pontiac Trl
          Wixom, MI 48393-1922                                                                            Not listed. Explain



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
5a. Total claims from Part 1                                                                            5a.          $                  1,010,198.13
5b. Total claims from Part 2                                                                            5b.    +     $                  2,905,517.08

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.          $                     3,915,715.21




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 20
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Fill in this information to identify the case:

Debtor name        Cair Heating and Cooling, LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF KENTUCKY

Case number (if known)      23-31622
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           lease with option to
             lease is for and the nature of       purchase of 13101 Data
             the debtor's interest                Vault Drive, Louisville,
                                                  KY 40223
                State the term remaining
                                                                                    211 N English Station, LLC
             List the contract number of any                                        11601 Main Street
                   government contract                                              Louisville, KY 40243


2.2.         State what the contract or           General contractor
             lease is for and the nature of       (Union at Oak Grove)
             the debtor's interest

                State the term remaining
                                                                                    Annex Construction of Howelle, LLC
             List the contract number of any                                        409 Massachusetts Ave, Ste 300
                   government contract                                              Indianapolis, IN 46204


2.3.         State what the contract or           General contractor
             lease is for and the nature of       (Union at Middle Creek,
             the debtor's interest                Lincoln, NE)

                State the term remaining
                                                                                    Annex Construction of Nebraska, LLC
             List the contract number of any                                        409 Massachusetts Ave, Ste 300
                   government contract                                              Indianapolis, IN 46204


2.4.         State what the contract or           General contractor
             lease is for and the nature of       (Annex of Pullman)
             the debtor's interest

                State the term remaining
                                                                                    Annex Construction of Washington, LLC
             List the contract number of any                                        409 Massachusetts Ave, Ste 300
                   government contract                                              Indianapolis, IN 46204




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 11
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Debtor 1 Cair Heating and Cooling, LLC                                           Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.5.      State what the contract or        General contractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                    Arbor Homes/Clayton Properties Group
                                                                         Craig Brockman, Division President
          List the contract number of any                                9225 Harrison Park Ct.
                government contract                                      Indianapolis, IN 46216


2.6.      State what the contract or        General contractor:
          lease is for and the nature of    Velo Riverside Dayton,
          the debtor's interest             KY

             State the term remaining
                                                                         Arlington Construction Services, LLC
          List the contract number of any                                2 North 20th Street
                government contract                                      Birmingham, AL 35203


2.7.      State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         BluAire Heating and Cooling
          List the contract number of any                                1313 Old Mill Road
                government contract                                      Louisville, KY 40242


2.8.      State what the contract or        General contractor
          lease is for and the nature of    (Nulu Yard Apartments)
          the debtor's interest

             State the term remaining
                                                                         Bosse Construction, Inc.
          List the contract number of any                                2116 Plantside Drive
                government contract                                      Louisville, KY 40299


2.9.      State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Buenavista Enterprise
          List the contract number of any                                2274 Hemlock Ave
                government contract                                      Columbus, OH 43229




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                               Page 2 of 11
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Debtor 1 Cair Heating and Cooling, LLC                                           Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        lease of
          lease is for and the nature of    office/warehouse at
          the debtor's interest             1821 Cargo Ct. in
                                            Louisville
             State the term remaining
                                                                        Cargo Commons, LLC
          List the contract number of any                               4010 Dupont Cir., Ste 700
                government contract                                     Louisville, KY 40207


2.11.     State what the contract or        General contractor
          lease is for and the nature of    (Austin Commons)
          the debtor's interest

             State the term remaining
                                                                        Cintech Construction
          List the contract number of any                               4865 Duck Creek Road
                government contract                                     Cincinnati, OH 45227


2.12.     State what the contract or        General contractor
          lease is for and the nature of    (Steadman)
          the debtor's interest

             State the term remaining
                                                                        Cityscape Construction
          List the contract number of any                               10 W. Carmel Drive, Ste 200
                government contract                                     Carmel, IN 46032


2.13.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Clarks Home Services
          List the contract number of any                               10570 Trevor Dr
                government contract                                     Aurora, IN 47001


2.14.     State what the contract or        General contractor:
          lease is for and the nature of    Fisher Senior Living;
          the debtor's interest             Indian Trail Senior
                                            Apartments;
                                            Jeffersonville Senior
                                            Housing; and Todd
                                            Farm Lane
             State the term remaining
                                                                        Clover Construction Management
          List the contract number of any                               348 Harris Hill Road
                government contract                                     Williamsville, NY 14221




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 3 of 11
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Debtor 1 Cair Heating and Cooling, LLC                                           Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Crawford Construction
          List the contract number of any                               2856 Ventura Dr
                government contract                                     Indianapolis, IN 46241


2.16.     State what the contract or        General contractor:
          lease is for and the nature of    Flats at Stone
          the debtor's interest             Crossing; Hayden Flats
                                            at Haley Farms; Jordan
                                            Creek; Front Street
                                            Apartments; The
                                            Madison; The Signature
                                            at Carmel; and Wesley
                                            Place.
             State the term remaining
                                                                        CRG Residential, LLC
          List the contract number of any                               805 City Center Dr, Ste 160
                government contract                                     Carmel, IN 46032


2.17.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Ever Eliberto Delgado
          List the contract number of any                               4202 Eagle Bay W.
                government contract                                     Indianapolis, IN 46254


2.18.     State what the contract or        General contractor:
          lease is for and the nature of    Avalon at Edgewood;
          the debtor's interest             Arbour Place;

             State the term remaining
                                                                        Forge Construction
          List the contract number of any                               509 Spring Street
                government contract                                     Jeffersonville, IN 47130


2.19.     State what the contract or        General Contractor,
          lease is for and the nature of    Gateway Lofts,
          the debtor's interest             Lexington, KY

             State the term remaining
                                                                        HCC Construction, LLC
          List the contract number of any                               35 N. Fourth St., Ste. 100
                government contract                                     Columbus, OH 43215




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 4 of 11
                                                                                                                           8/18/23 5:23PM

Debtor 1 Cair Heating and Cooling, LLC                                           Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.20.     State what the contract or        General Contractor -
          lease is for and the nature of    Bull Run Townhomes,
          the debtor's interest             Louisville, KY

             State the term remaining
                                                                         HCC, LLC
          List the contract number of any                                12911 Reamers Road
                government contract                                      Louisville, KY 40245


2.21.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Indy on Demand
          List the contract number of any                                10164 Clear Sky Dr
                government contract                                      Avon, IN 46123


2.22.     State what the contract or        General contractor:
          lease is for and the nature of    Farragut Apartments,
          the debtor's interest             TN; Bel Canto Lebanon,
                                            IN; Biddle Farms Retail;
                                            Main Street Lofts, Oak
                                            Ridge, TN; and Yardley
                                            Flats.
             State the term remaining
                                                                         J.A. Fielden Co., Inc.
          List the contract number of any                                814 E. Woodland Avenue
                government contract                                      Knoxville, TN 37917


2.23.     State what the contract or        General contractor:
          lease is for and the nature of    Southern Meadows;
          the debtor's interest             Summerset Apartments

             State the term remaining
                                                                         Kittle Property Group, Inc.
          List the contract number of any                                310 E. 96th Street, Ste 400
                government contract                                      Indianapolis, IN 46240


2.24.     State what the contract or        commercial lease
          lease is for and the nature of    agreement of 502 S.
          the debtor's interest             Keystone Ave.,
                                            Indianapolis, IN 46203
             State the term remaining
                                                                         Lee Investment Company of SC, LLC
          List the contract number of any                                12808 Birkenstock St.
                government contract                                      Carmel, IN 46032




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                               Page 5 of 11
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Debtor 1 Cair Heating and Cooling, LLC                                           Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.25.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Leon Services
          List the contract number of any                               2333 Poshard Dr
                government contract                                     Columbus, IN 47203


2.26.     State what the contract or        office/warehouse unit
          lease is for and the nature of    located at 250 Lowery
          the debtor's interest             Ct., Suite 2B,
                                            Groveport, Ohio 43125
             State the term remaining
                                                                        Lowery Asset Management LLC
          List the contract number of any                               1820 Nortwest Blvd, Ste 200
                government contract                                     Columbus, OH 43212


2.27.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Maile Construction
          List the contract number of any                               2927 Silverton Ct
                government contract                                     Columbus, OH 43232


2.28.     State what the contract or        General contractor
          lease is for and the nature of    (Flats at Bardstown)
          the debtor's interest

             State the term remaining
                                                                        Marian Construction
          List the contract number of any                               1801 Payne Street
                government contract                                     Louisville, KY 40206


2.29.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Mike Jolly
          List the contract number of any                               273 Georgetown Road
                government contract                                     Greenwood, IN 46142




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 6 of 11
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Debtor 1 Cair Heating and Cooling, LLC                                           Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.30.     State what the contract or        General contractor
          lease is for and the nature of    (East Main Street)
          the debtor's interest

             State the term remaining
                                                                        Miranda Constrction
          List the contract number of any                               322 East Kentucky Street
                government contract                                     Louisville, KY 40203


2.31.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        North Air Conditioning
          List the contract number of any                               1031 Queen Ave
                government contract                                     Louisville, KY 40215


2.32.     State what the contract or        subcontractor (Stillwell
          lease is for and the nature of    at Jerome Village)
          the debtor's interest

             State the term remaining
                                                                        Osorio Air Comfort, LLC
          List the contract number of any                               2684 Christine Blvd
                government contract                                     Columbus, OH 43240


2.33.     State what the contract or        Storage unit lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Pacific Mobile Structures, Inc.
          List the contract number of any                               P O Box 24747
                government contract                                     Seattle, WA 98124-0747


2.34.     State what the contract or        General contractor
          lease is for and the nature of    (Storage Five,
          the debtor's interest             Cincinnatio, OH)

             State the term remaining
                                                                        Reconn Construction Services
          List the contract number of any                               561 N. Egret Bay Blvd.
                government contract                                     League City, TX 77573




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 7 of 11
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Debtor 1 Cair Heating and Cooling, LLC                                            Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.35.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Redwood HVAC
          List the contract number of any                                 5117 Terry Rd
                government contract                                       Louisville, KY 40216


2.36.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Reyes Heating and Cooling
          List the contract number of any                                 4609 Crawford Ave
                government contract                                       Louisville, KY 40258


2.37.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          RMA Air Conditioner
          List the contract number of any                                 961 Leona Ave
                government contract                                       Columbus, OH 43201


2.38.     State what the contract or        General contractor:
          lease is for and the nature of    Fountain UC Student
          the debtor's interest             Housing; Liberty Lofts;
                                            Renegade Student
                                            Housing, Tallahassee,
                                            FL;
             State the term remaining                                     Ruscilli Construction Co., LLC
                                                                          Attn: Brandon Hedrick
          List the contract number of any                                 5815 Wall Street
                government contract                                       Dublin, OH 43017


2.39.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Sanders HVAC
          List the contract number of any                                 164 S. Cherry Street
                government contract                                       Sale City, GA 31784




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 8 of 11
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Debtor 1 Cair Heating and Cooling, LLC                                            Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.40.     State what the contract or        Software license
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Service Titan
          List the contract number of any                                 1349 W. Peachtreet St. NW, Ste. 1700
                government contract                                       Atlanta, GA 30309


2.41.     State what the contract or        General contractor (The
          lease is for and the nature of    Madison)
          the debtor's interest

             State the term remaining
                                                                          South Meridian Townhomes LLC
          List the contract number of any                                 805 City Center Dr, Ste 160
                government contract                                       Carmel, IN 46032


2.42.     State what the contract or        General contractor
          lease is for and the nature of    (Compass on
          the debtor's interest             Washington)

             State the term remaining                                     Summit Construction Co., Inc.
                                                                          1107 Burdsal Parkway
          List the contract number of any                                 PO Box 88126
                government contract                                       Indianapolis, IN 46208


2.43.     State what the contract or        General Contractor -
          lease is for and the nature of    Terra Apts., Louisville
          the debtor's interest

             State the term remaining
                                                                          TDK Construction Co., Inc.
          List the contract number of any                                 1610 S. Church St, Ste C
                government contract                                       Murfreesboro, TN 37130


2.44.     State what the contract or        Completed project
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          The Buttorff Company Inc.
          List the contract number of any                                 7610 Pollock Ave.
                government contract                                       Pewee Valley, KY 40056




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 9 of 11
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Debtor 1 Cair Heating and Cooling, LLC                                             Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.45.     State what the contract or        General contractor -
          lease is for and the nature of    Louisville Chick-Fil-A's
          the debtor's interest

             State the term remaining
                                                                           Thorndale Construction Services
          List the contract number of any                                  1832 Centre Point Cir., Ste 103
                government contract                                        Naperville, IL 60563


2.46.     State what the contract or        lease of premises
          lease is for and the nature of    located at 4740
          the debtor's interest             Interstate Drive,
                                            Cincinnati, OH
             State the term remaining                                      TLP Capital Center West Chester LLC
                                                                           c/o TradeLane Properties LLC
          List the contract number of any                                  2215 York Road, Ste 405
                government contract                                        Oak Brook, IL 60523


2.47.     State what the contract or        General contractor
          lease is for and the nature of    (Pleasant Ridge)
          the debtor's interest

             State the term remaining
                                                                           Towne Properties
          List the contract number of any                                  1055 St. Paul Place
                government contract                                        Cincinnati, OH 45202


2.48.     State what the contract or        subcontractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Valle Painting
          List the contract number of any                                  1400 Cunningham Ct.
                government contract                                        Louisville, KY 40211


2.49.     State what the contract or        General contractor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Welch Builders, Inc.
          List the contract number of any                                  301 Middletown Park Pl #A
                government contract                                        Louisville, KY 40243




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 10 of 11
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Debtor 1 Cair Heating and Cooling, LLC                                           Case number (if known)   23-31622
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.50.     State what the contract or        General contractor at
          lease is for and the nature of    1501 Main St.,
          the debtor's interest             Clarksville, IN.

             State the term remaining
                                                                        Whittenberg Construction Co.
          List the contract number of any                               4774 Allmond Ave.
                government contract                                     Louisville, KY 40209


2.51.     State what the contract or        General contractor
          lease is for and the nature of    (Eclipse at Russell)
          the debtor's interest

             State the term remaining
                                                                        Xpert Design & Constrction, LLC
          List the contract number of any                               1469 4th St
                government contract                                     Louisville, KY 40208




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 11 of 11
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Fill in this information to identify the case:

Debtor name      Cair Heating and Cooling, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF KENTUCKY

Case number (if known)   23-31622
                                                                                                                           Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Clapp, Kevin                2310 Running Brook Trail                                 Cucumber Capital                D       2.2
                                      Fisherville, KY 40023                                    LLC                              E/F
                                                                                                                               G



   2.2    Clapp, Kevin                2310 Running Brook Trail                                 Rocket Capital NY               D       2.9
                                      Fisherville, KY 40023                                    LLC                              E/F
                                                                                                                               G



   2.3    Clapp, Kevin                2310 Running Brook Trail                                 On Deck Capital, LLC            D       2.8
                                      Fisherville, KY 40023                                                                     E/F
                                                                                                                               G



   2.4    Clapp, Kevin                2310 Running Brook Trail                                 TVT 2.0 LLC                     D       2.10
                                      Fisherville, KY 40023                                                                     E/F
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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B2030 (Form 2030) (12/15)
                                                          United States Bankruptcy Court
                                                              Western District of Kentucky
 In re       Cair Heating and Cooling, LLC                                                                    Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $              Hourly Rates
             Prior to the filing of this statement I have received                                        $                 27,500.00
             Balance Due                                                                                  $                       TBD

2.    $ 1,738.00           of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor               Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor               Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              All Chapter 11 general counsel services.

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 18, 2023                                                          /s/ Dean A. Langdon
     Date                                                                     Dean A. Langdon 40104
                                                                              Signature of Attorney
                                                                              DelCotto Law Group PLLC
                                                                              200 North Upper St.
                                                                              Lexington, KY 40507
                                                                              (859) 231-5800 Fax: (859) 281-1179
                                                                              Name of law firm
